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 6                              UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8                                               ***
 9   UNITED STATES OF AMERICA,                         )
                                                       )
10                               Plaintiff,            )            2:16-cr-00062-LRH-GWF
                                                       )
11   vs.                                               )
                                                       )
12   ALISHA PEREZ,                                     )                    ORDER
                                                       )
13                               Defendant.            )
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15          Pending before the Court is Defendant’s motion to modify conditions of pretrial release.
16   Docket No. 100. The Court hereby SETS a hearing on this motion for February 14, 2017, at 9:00
17   a.m. in Courtroom 3A.
18          IT IS SO ORDERED.
19          DATED: February 13, 2017.
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                                                NANCY J. KOPPE
23                                              United States Magistrate Judge
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